                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                               FAYETTEVILLE DIVISION


FAYETTEVILLE PUBLIC LIBRARY, a political
subdivision in the City of Fayetteville, State of Arkansas;
EUREKA SPRINGS CARNEGIE PUBLIC LIBRARY;
CENTRAL ARKANSAS LIBRARY SYSTEM; NATE
COULTER; OLIVIA FARRELL; HAYDEN KIRBY;
MIEL PARTAIN, in her own capacity and as parent and
next friend of MADELINE PARTAIN; LETA
CAPLINGER; ADAM WEBB; ARKANSAS LIBRARY
ASSOCIATION;           ADVOCATES             FOR      ALL
ARKANSAS LIBRARIES; PEARL’S BOOKS, LLC;
WORDSWORTH COMMUNITY BOOKSTORE LLC
d/b/a WORDSWORTH BOOKS; AMERICAN
BOOKSELLERS ASSOCIATION; ASSOCIATION OF
AMERICAN PUBLISHERS, INC.; AUTHORS GUILD,
INC.; COMIC BOOK LEGAL DEFENSE FUND; and
FREEDOM TO READ FOUNDATION
                                                               PLAINTIFFS


v.                                 NO. 5:23-CV-05086-TLB

CRAWFORD COUNTY, ARKANSAS; CHRIS KEITH,
in his official capacity as Crawford County Judge; TODD
MURRAY;           SONIA       FONTICIELLA;       DEVON
HOLDER; MATT DURRETT; JEFF PHILLIPS; WILL
JONES; TERESA HOWELL; BEN HALE, CONNIE
MITCHELL, DAN TURNER, JANA BRADFORD;
FRANK SPAIN; TIM BLAIR; KYLE HUNTER;
DANIEL SHUE; JEFF ROGERS; DAVID ETHREDGE;
TOM TATUM, II; DREW SMITH; REBECCA REED
MCCOY; MICHELLE C. LAWRENCE; DEBRA
BUSCHMAN;             TONY       ROGERS;        JOSHUA
ROBINSON; CAROL CREWS; KEVIN HOLMES;
CHRIS WALTON; and CHUCK GRAHAM, each in his
or her official capacity as a prosecuting attorney for the
State of Arkansas
                                                              DEFENDANTS
               CENTRAL ARKANSAS LIBRARY SYSTEM’S RESPONSES
                  TO THE PROSECUTING ATTORNEYS’ FIRST SET
             OF INTERROGATORIES AND REQUESTS FOR PRODUCTION

       Plaintiff Central Arkansas Library System (“CALS”), by and through its attorneys, for its

responses to Prosecuting Attorneys’ First Set of Interrogatories and Requests for Production of

Documents, states as follows:

                PRELIMINARY STATEMENTS, RESERVATIONS OF RIGHTS,
                           AND GENERAL OBJECTIONS

       1.      CALS has not completed its investigation of the facts relating to this case or

completed formal discovery. Accordingly, there may exist information and responsive documents

of which CALS does not yet have knowledge or has not yet located, identified, or reviewed. All of

the following responses are therefore based only on such information and documents currently

known or available to CALS after reasonable inquiry. Upon further investigation, CALS reserves

the right to alter, amend, or supplement certain facts or information set forth in the following

responses.

       2.      CALS objects generally to each and every discovery request to the extent that the

request purports, through definitions otherwise, to impose burdens and duties on CALS that exceed

the scope of reasonable and permissible discovery under the Federal Rules of Civil Procedure.

       3.      CALS objects generally to each and every discovery request to the extent that the

request purports to require disclosure of information subject to the attorney-client or other

applicable privileges (“privileged information”). Such privileged information is exempt from

discovery.

       4.      CALS objects to each and every discovery request to the extent that the request calls

for information or documents prepared in anticipation of litigation or for trial, on the grounds that



                                                 2
                                         INTERROGATORIES

       INTERROGATORY NO. 1: Identify 20 items in your collection that you believe are

subject to regulation under Section 1 of Act 372 of 2023.

       RESPONSE: CALS objects to Interrogatory No. 1 to the extent it seeks disclosure of

information protected by the attorney-client privilege, attorney work product doctrine, common

interest privilege, and other applicable privileges. Furthermore, CALS objects to Interrogatory No.

1 as confusing, vague, and unduly burdensome because it requires CALS to draw legal conclusions

about the extent to which materials in its collection is subject to regulation under Section 1 of Act

372, a law that CALS alleges is unconstitutionally vague.

       CALS also objects that its ability to identify books in its collection that are subject to Act

372 would be greatly enhanced if it had the benefit of the Prosecutor Defendants’ response to

Plaintiffs’ first set of discovery requests, which should clarify, among other things, the Prosecutor

Defendants’ views on the applicability of Act 372 to a list of frequently challenged books.

Understanding how the Prosecutor Defendants, who are tasked with interpreting and enforcing Act

372, understand that law will help CALS more accurately determine which books in its collection

are likely to trigger a prosecution under Section 1 of Act 372, if they are made generally available

to library patrons, regardless of age.

       Without waiving these objections, CALS notes that it has in its collection the following 20

books, which meet the definition of “materials” under Act 372 and appear in its collection. In

providing this list, CALS emphasizes that its ability to identify books to which Act 372 Section 1

applies is limited by the unconstitutional vagueness of that law. CALS chose books which may be

deemed by the prosecutors to be harmful to minors 8 years old, as required under Shipley, Inc. v.




                                                 4
Long, 359 Ark. 208, 195 S.W.3d 911 (Ark. 2004), although they are, in CALS’ view,

constitutionally protected as to older minors.

       1. Beloved by Toni Morrison
       2. The Handmaid’s Tale by Margaret Atwood
       3. Lolita by Vladimir Nabokov
       4. Lady Chatterley’s Lover by D. H. Lawrence
       5. The Awakening by Kate Chopin
       6. The Bell Jar by Sylvia Plath
       7. The Group by Mary McCarthy
       8. Peyton Place by Grace Metalious
       9. The Glass Castle by Jeannette Walls
       10. Bastard Out of Carolina by Dorothy Allison
       11. Their Eyes Were Watching God by Zora Neale Hurston
       12. Call Me By Your Name by Andre Aciman
       13. Sons and Lovers by D. H. Lawrence
       14. An American Tragedy by Theodore Dreiser
       15. Portnoy’s Complaint by Philip Roth
       16. The Absolutely True Diary of a Part-Time Indian by Sherman Alexie
       17. Tropic of Cancer by Henry Miller
       18. I Know Why the Caged Bird Sings by Maya Angelou
       19. Madame Bovary by Gustave Flaubert
       20. Looking For Alaska by John Green


       INTERROGATORY NO. 2: For each item identified in response to Interrogatory No. 1,

identify the chapter numbers, timestamps, or other specific indicator that you believe make the item

subject to Section 1.

       RESPONSE: CALS objects to Interrogatory No. 2 to the extent it seeks disclosure of

information protected by the attorney-client privilege, attorney work product doctrine, common

interest privilege, and other applicable privileges. CALS further objects to Interrogatory No. 2 as

confusingly worded, vague, and unduly burdensome because it requires CALS to draw legal

conclusions about the extent to which items in its collection are subject to regulation under Section

1 of Act 372, a law that CALS alleges is unconstitutionally vague. Moreover, determining if an

item is “harmful to minors” – and, thus, is subject to Act 372’s restrictions on its availability –


                                                 5
requires that the item be “taken as a whole,” Miller v. California, 413 U.S. 15, 24 (1973), and

considered in the context of the age and maturity of the specific minor to whom the material is

made available, see Ginsberg v. New York, 390 U.S. 629, 631-32 (1968). Prelim. Inj. Op. (Doc. 53)

at 27 (“Act 372’s definition of ‘harmful to minors’ precisely tracks the Supreme Court-approved

definitions from Ginsberg and Miller”).

       Accordingly, it is not possible to identify which portions of the books CALS has identified

in its answer to Interrogatory No. 1 might cause one of the Prosecutor Defendants to initiate a

prosecution without reading the books in their entirety, which amounts to thousands of pages. The

burden to CALS of that undertaking far outweighs any possible need the Prosecutor Defendants

might have for CALS’ views on this subject. Accordingly, without waiving any objections and for

the reasons stated above, CALS declines to identify specific chapter numbers, timestamps, or other

specific indicators that would make the books identified above subject to Section 1.

       INTERROGATORY NO. 3: Are you and your employees required to follow the

American Library Association’s Code of Ethics?

       RESPONSE: CALS objects to Interrogatory No. 3 because it is vaguely worded and fails

to specify what it means to be “required to follow the American Library Association’s Code of

Ethics,” which is a non-binding framework that does not purport to dictate specific courses of

action or outcomes. CALS also objects to the extent that Interrogatory No. 3 seeks information

about the ethical obligations of its employees or librarians in the State of Arkansas, which is

publicly available and could be easily obtained by the Prosecutor Defendants. Without waiving

these objections, CALS states that its employees are not required to follow the American Library

Association’s Code of Ethics in any formal or binding sense. Indeed, the ALA Code of Ethics is




                                                6
not, by its terms, a binding ethical obligation, but rather purports to “guide ethical decision making”

through “broad statements” of principle. See https://www.ala.org/tools/ethics.

       INTERROGATORY NO. 4: If you and your employees are required to follow the

American Library Association’s Code of Ethics, who requires compliance with that Code of Ethics?

       RESPONSE: See the response to the previous Interrogatory.

       INTERROGATORY NO. 5: Identify who creates your policies related to the selection,

relocation, and retention of materials in your collection.

       RESPONSE: CALS’ Board of Directors creates its policies related to selection, retention,

and relocation of materials.

       INTERROGATORY NO. 6: Identify every person who has expressed their intent to you

to challenge library materials under Section 5 of Act 372 of 2023.

       RESPONSE: CALS objects to Interrogatory No. 6 to the extent it calls for CALS to

disclose “[l]ibrary records which contain names or other personally identifying details regarding

the patrons of public, school, academic, and special libraries and library systems supported in whole

or in part by public funds,” which Arkansas law provides “shall be confidential and shall not be

disclosed except as permitted by this subchapter.” Ark. Code Ann. § 13-2-703.

CALS further objects to this request as unduly burdensome and not proportional to the Prosecutor

Defendants’ needs. CALS also objects that the request is vague because it does not specify the form

that a qualifying expression must take.

       INTERROGATORY NO. 7: Identify all polices you have related to whether minors may

browse your collection with or without adult supervision.




                                                  7
                                        VERIFICATION

       I, Nate Coulter, am the Director of CALS. I am authorized to make this verification for

and on behalf of CALS with regard to CALS’ responses herein. I have reviewed these responses

and am informed and believe that the matters stated therein are true.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

       Executed on March 18, 2024 at Little Rock, Arkansas.



                                                            /s/ Nate Coulter
                                                            Nate Coulter




                                                12
                               CERTIFICATE OF SERVICE

       I, John T. Adams, hereby certify that a true and correct copy of the foregoing has been
served via email on all counsel of record on March 18, 2024.

                                                  /s/ John T. Adams
                                                  John T. Adams




                                             13
